                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 JOHNNY M. HUNT,                                     Case No. 3:23-cv-00243
                Plaintiff,                           Judge Campbell
      v.                                             Magistrate Judge Frensley
 SOUTHERN BAPTIST CONVENTION;
 GUIDEPOST SOLUTIONS LLC; and
 EXECUTIVE COMMITTEE OF THE
 SOUTHERN BAPTIST CONVENTION,

                       Defendants.

                       JOINT DISCOVERY DISPUTE STATEMENT

       Pursuant to Section G of the Case Management Order (Doc. 37) and Local Rules 7.01 and

37.01, Plaintiff, Johnny M. Hunt, and Defendant, Guidepost Solutions, LLC (“Guidepost”), submit

this Joint Discovery Dispute Statement (“Statement”) regarding the scheduling of depositions and

document productions. The parties certify that counsel for Plaintiff and Guidepost conducted a

meet and confer via Zoom on December 14 at which time lead counsel for both Guidepost and

Plaintiff were present. Plaintiff and Guidepost have made a good faith effort to resolve the dispute

between them, but they have not been able to reach an agreement.

I.     Plaintiff’s Statement of the Dispute

       A.      Guidepost’s refusal to schedule depositions.

       This dispute arises from Guidepost’s unilateral refusal to schedule depositions for

witnesses that are identified in its own initial disclosures and discovery responses as having been

directly involved in Guidepost’s decision to publish the defamatory statements against Plaintiff at

issue in this lawsuit. Incredibly, Guidepost is improperly attempting to shield its CEO, Julie Myers

Wood, from deposition, even though Guidepost’s own Rule 26 disclosures specifically identify

Ms. Wood as a witness “likely to have discoverable information . . . that may be used to support

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[Guidepost’s] claims or defenses . . . .” This Court should not condone Guidepost’s continuing

efforts to obstruct production of discoverable information but should instead enter an order

requiring the five Guidepost depositions to proceed.

       Guidepost has been seeking to delay discovery in this case for months. On November 22,

2023, the Court granted Plaintiff’s previously-filed Motion to Compel and ordered Guidepost to

produce the responsive documents it was withholding, which included documents and audio

recordings provided to Guidepost by the woman who made certain accusations against Plaintiff

(the “Complainant”) and her husband. (Doc. 76) Guidepost produced the documents on December

5-6, 2023—188 days after Plaintiff initially served his discovery requests. This production

included Guidepost’s interview notes, audio recordings of counseling sessions with the

Complainant and her husband, and text messages between Guidepost investigators and the

Complainant, among others.

       Promptly after the Court’s November 22 Order, Plaintiff’s lead counsel called counsel for

each Defendant to discuss scheduling depositions. On November 28, Plaintiff’s counsel sent a

letter with a proposed deposition schedule and corresponding deposition notices for five Guidepost

employees. (Exs. A-F) Guidepost responded on December 8, 2023, and objected to the notices as

served. (Ex. G) All parties had a meet and confer on December 14, 2023 to discuss the noticed

depositions and work on a deposition schedule for the case.

       At the meet and confer, Guidepost agreed to produce its two lead investigators, Russell

Holske and Samantha Kilpatrick for depositions. However, Guidepost refused to schedule

depositions for Krista Tongring (Senior Managing Director), Julie Myers Wood (Chief Executive

Officer), and Anthony Collura (Chief Operating Offer and Chief Legal Officer) until after a

separate meet and confer process that would only occur after the lead investigator depositions were



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completed. The parties were not able to come to an agreement on the deposition schedule and set

another meet and confer the following week to discuss these issues in more detail.

        To facilitate the conversation at the upcoming meet and confer, Plaintiff’s counsel sent a

letter that described the reasoning for deposing each witness and explained the need to schedule

each noticed deposition at this time. (Ex. H) In response, Guidepost unilaterally cancelled the

scheduled meet and confer less than twenty minutes before the call was set to begin. (Ex. I)

Guidepost refused to make Julie Myers Wood and Anthony Collura available for deposition unless

Plaintiff had an “objective, legitimate factual basis” to do so following the depositions of the three

investigators. (Id.)

        Guidepost’s objections are not well-taken. Plaintiff already has an “objective, legitimate

factual basis” to depose each Guidepost witness. Plaintiff selected each potential deponent after a

review of the Defendants’ discovery responses and document productions. For example, Samantha

Kilpatrick, Russell Holske, Krista Tongring, and Julie Myers Wood were all identified in

Guidepost’s own Rule 26 disclosures as individuals “likely to have discoverable information

(along with the subjects of that information) that may be used to support [Guidepost’s] claims or

defenses . . . .” (Ex. S) Similarly, all four of these individuals were identified in Guidepost’s

interrogatory responses as “individual[s] involved in drafting portions of the Report that involve

Johnny Hunt.” (Ex. J) Additionally, both Ms. Wood and Tongring “reviewed and edited [the]

portion of [the] Report related to Plaintiff.” (emphasis added) (Id.) The same individuals were also

identified in Guidepost’s interrogatory responses as being “involved in the decision to include the

Complainant’s allegations against Johnny Hunt in the Report.” (Id.) Guidepost’s interrogatory

responses also identified Anthony Collura as having been “involved in the decision to include

Complainant’s allegations against Johnny Hunt in the Report.” (Id.)



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          Moreover, Guidepost’s document productions have reinforced the need to schedule all five

of these depositions, including Guidepost’s CEO, Julie Myers Wood. For example, Guidepost’s

proposal for the engagement with the SBC stated: [ ]

                                                                                (Ex. K at GP_004271)

Documents produced by the Complainant and her husband in response to Plaintiff’s subpoena also

reveal email communications directly between the Complainant’s husband and Julie Myers Wood.

(Ex. T)

          Plaintiff has no issue scheduling the depositions of Guidepost’s lead investigators first, as

is clear from Plaintiff’s deposition notices. (Exs. B-F) However, given the importance of each

deposition and Guidepost’s consistent pattern of delay, Plaintiff needs certain dates for all

depositions.

          Plaintiff respectfully requests that the Court enter an order enforcing the deposition notices

as served, or in the alternative, order Guidepost to provide deposition dates prior to February 15

for each requested deposition by January 12, 2024.

      B. Guidepost’s failure to produce documents and communications exchanged
between the Complaint’s husband and Guidepost employees.

          In addition to the deposition scheduling issues, Plaintiff has serious concerns regarding the

sufficiency of Guidepost’s document productions, which did not include numerous emails and

other documents directly exchanged between the Complainant’s husband and Guidepost

employees.

          Plaintiff recently received and reviewed documents produced by the Complainant and her

husband in response to Plaintiff’s subpoenas. The production revealed several emails and other

documents exchanged between the Complainant’s husband and Guidepost that were not produced

by Guidepost even though they were responsive to Plaintiff’s Requests for Production. Plaintiff is

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designations but was unable to reach a resolution. Plaintiff respectfully requests the Court set

hearing on the disputed designations.

II.     Defendant Guidepost’s Statement of the Dispute

        A.      Depositions of Guidepost employees.

        This dispute is a creation of Plaintiff’s unreasonable insistence that discovery in this case

shall take place only on Plaintiff’s terms and Plaintiff’s timeline. 1 Plaintiff has noticed five

Guidepost employees for deposition in Nashville, Tennessee on January 16-18, 2024. Guidepost

has offered to make three of those individuals available in Washington, D.C., on dates convenient

to the parties, i.e., the two lead investigators and their editor, with the understanding that

Guidepost’s Chief Legal Officer (“CLO”) and its Chief Executive Officer (“CEO”) would not be

deposed unless the content of the three investigators’ depositions necessitated inquiry of the

executive officers. That offer is not sufficient for Plaintiff, and he insists all five depositions take

place as noticed.

        On November 28, 2023, Plaintiff’s counsel sent a letter to all defense counsel setting forth

a discovery schedule of 15 depositions 2 Plaintiff intends to take, unilaterally setting all of them for

dates in January 2024 at the offices of Guidepost’s local counsel, Riley & Jacobson, PLC. (Exh.

A.) The November 28 letter included notices of deposition for the following Guidepost employees:

        Samantha Kilpatrick, January 16, 2024 at 9:00 a.m.
        Russell Holske, Jr., January 16, 2024 at 2:00 p.m.


        1
                 Plaintiff is quick to complain about Guidepost’s delays in producing documents
or deposition dates, but he too has delayed, repeatedly, or outright refused requests to produce
documents, deposition dates, privilege logs and “redaction” logs. (See, e.g., December 14, 2023
letter at 3 attached as Exh. L; Exh. A.)
        2
              The parties have not yet agreed to expand the 10-deposition limit imposed under
the Federal Rules, nor has Plaintiff sought Defendants’ consent in this regard.


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        Krista Tongring, January 17, 2024 at 9:00 a.m.
        Anthony Collura, January 17, 2024 at 2:00 p.m.
        Julie Myers Wood, January 18, 2024 at 9:00 a.m.

(Exhs. B-F.) No other deposition notices were included with the November 28 letter for the

identified SBC, EC, or third-party witnesses. No subpoenas were included with the Guidepost

deposition notices. 3

        Guidepost’s lead investigators, drafters, and editors of the portion of the Report related to

Plaintiff are Krista Tongring, Samantha Kilpatrick, and Russell Holske, Jr., all of whom were

noticed for deposition by Plaintiff. (Exh. J, Interrog. 1 and 2.) Ms. Kilpatrick and Mr. Holske

were responsible for interviewing all witnesses associated with the allegations regarding Plaintiff

and drafting that portion of the Report. (Id.) Ms. Tongring was responsible for reviewing and

editing the portion of the Report related to Plaintiff. (Id.) Ms. Kilpatrick and Mr. Holske live and

work in North Carolina, and Ms. Tongring lives and works in the Washington, D.C. area.

        Also noticed for deposition were Anthony Collura, Guidepost’s CLO, and Julie Myers

Wood, Guidepost’s CEO. (Exh. J, Interrog. 3.) Mr. Collura lives and works in New York City,

and Ms. Wood lives and works in the Washington, D.C., area. Both Mr. Collura and Ms. Wood,

together with the three investigators, were involved in the decision to include the allegations made

by his alleged victim and her husband against Plaintiff in the Report. (Id.) Mr. Collura and Ms.

Wood were not directly involved in the investigation into the allegations relating to Plaintiff, nor

did they participate in any witness interviews or request and receive any documents from any


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                In his November 28 letter (Exh. A), Plaintiff also claims to be “working on” dates
for the depositions of Plaintiff and his wife, the request for which was made in writing by the EC’s
counsel on October 30, 2023. (Exh. M.) To date, Plaintiff has not provided any available
deposition dates for himself or his wife. After not hearing from Plaintiff for two months, on January
6, 2024, the EC noticed Plaintiff’s deposition. (Exh. N.)


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witness or other sources. Their knowledge of the details of the Report, including the portion of

the Report related to Plaintiff, is neither unique nor superior to the knowledge of the investigators

and, further, particularly in the case of Mr. Collura, his communications with Guidepost staff and

executives are privileged. Bluewater Music Services Corp. v. Spotify USA, Inc., 2019 WL

6904599, *3-4 (M.D. Tenn. March 25, 2019) (granting motion for protective order prohibiting the

deposition of defendant’s CEO because the plaintiff failed to show that the CEO had first-hand

knowledge of the relevant facts at issue, and defendant offered to produce witnesses with greater,

contemporaneous knowledge of the facts); HLFIP Holdings, Inc. v. Rutherford County, 2020 WL

6481535. *5 (M.D. Tenn. May 7, 2020) (“Deposition of an opposing party’s attorney is an extreme

measure, justifiable only under certain conditions as set forth by the Sixth Circuit.”)

       On December 8, 2023, Guidepost objected to Plaintiff’s notices of deposition for the five

Guidepost employees and informed Plaintiff it would not produce these individuals for deposition

in Nashville, Tennessee on January 16-18, 2024. Guidepost objected to the location and dates, as

none of the prospective deponents lives or works in Tennessee. (Exh. G.) Guidepost further

objected to the notices for the investigators as insufficient given that the investigators, who are not

officers, directors, or managing agents of Guidepost, must be served with subpoenas to compel

their testimony. (See Exh. G.) Bridgestone Americas, Inc. v. International Business Machines

Corp., 2017 WL 11684607, *3 (M.D. Tenn. Feb. 7, 2017) (notice of a deposition is sufficient only

for individuals who are officers, board directors or managing agents of a company).

       The next day, Plaintiff’s counsel asked for a meet and confer call regarding Guidepost’s

objections to the notices. All parties agreed that the call would take place on Thursday, December

14, 2023 at 12:00 p.m. (Exh. O.)




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       The December 14 meet and confer was led by lead counsel for Plaintiff and lead counsel

for Guidepost, with lead counsel for the SBC and EC also present and participating. The discussion

centered on which prospective deponents Guidepost would make available for deposition and the

location and timing of those depositions. Guidepost agreed to produce the two lead investigators,

Ms. Kilpatrick and Mr. Holske, and potentially, Ms. Tongring, who was responsible for editing

the portion of the Report relating to Plaintiff, but in any event, Guidepost stated that those

depositions should not take place in Nashville, Tennessee.

       Plaintiff refused to consider taking any depositions remotely, and the parties were not able

to agree on a location for the Guidepost depositions.

       The parties also discussed, conceptually, the possibility of deposing the investigators, and

then only deposing Mr. Collura and Ms. Wood, if necessary, based on the content of the

Investigators’ depositions, and all parties agreed to jointly seek a 30-day extension of the fact

discovery deadline, currently set for February 2, 2024. (Doc. 37.) Plaintiff’s counsel himself

endorsed the notion of taking the three investigators’ deposition first, with the understanding that

Guidepost could reserve the right to require a “meet and confer” on relevance thereafter if Plaintiff

persisted in his view that Mr. Collura’s and Ms. Wood’s depositions were still required. The

meeting concluded, with the parties agreeing to set a follow-up meet and confer call for Tuesday,

December 19, 2023 at 11:00 a.m.

       In the interim, Guidepost’s counsel was given authority to offer the depositions of the three

investigators in Washington, D.C., on dates convenient to the parties, with the understanding that

Mr. Collura and Ms. Wood would not be deposed unless the content of the investigators’

depositions necessitated inquiry of the executive officers. However, prior to the scheduled

December 19 call, on December 18, 2023, Plaintiff changed the terms of the debate and insisted

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on setting a schedule for all five noticed depositions by December 22, 2023, citing as justification

Guidepost’s purported “consistent pattern of delay.” (Exh. H.) Plaintiff’s December 18 letter

rendered pointless the December 14 meet and confer and the scheduled follow up on December

19, specifically as to the deposition dispute between Plaintiff and Guidepost.

       Guidepost responded by letter the morning of December 19, 2023, rejecting Plaintiff’s

demand, but nevertheless offering to produce all three investigators for deposition in Washington,

D.C., on dates convenient to all parties, with the possibility of scheduling the depositions of Mr.

Collura and Ms. Wood, if warranted. (Exh. I.) Because Guidepost viewed Plaintiff’s December

18 letter as contrary to the spirit of the prior discussions and a bad faith negotiating tactic,

Guidepost canceled its participation in the December 19 meet and confer. (See id.) Later, on

December 19, the parties received an email from Plaintiff’s counsel, stating that they would be

seeking a court order enforcing each of the noticed Guidepost depositions on the dates and times

identified in Plaintiff’s November 28 letter and on the terms contained in the notices themselves.

(Exh. P.) Plaintiff’s counsel then emailed the Court requesting a discovery conference. (Exh. Q.)

       The next communication from Plaintiff’s counsel was not until January 5, 2024,

transmitting a draft joint discovery statement to Guidepost’s counsel, stating that Plaintiff would

submit the statement to the Court no later than 3:00 pm Eastern time on Monday, January 8, 2024,

less than one business day following the transmittal of the draft statement. (Exh. R.)

       In the event this dispute is not resolved through continued negotiation, Guidepost intends

to move for the entry of a protective order to protect Guidepost’s investigators and executives

from Plaintiff’s discovery tactics. Guidepost will seek an order (1) prohibiting any deposition of

Guidepost’s employees from taking place in Tennessee and on January 16-18, as noticed, and (2)

prohibiting the depositions of Mr. Collura and Ms. Wood altogether, as the depositions of these

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high-ranking executives are not proportional to the needs of the case, particularly where, as here,

the investigators have far more detailed knowledge of the investigation and drafting process of

the Report that is at the heart of Plaintiff’s claims.

       B.       Document Dispute Regarding Communications Exchanged Between the
                Survivor’s Husband and Guidepost Employees.

        Guidepost’s position is that this matter is not yet ripe for motion practice and it should not

have been included in this Joint Discovery Dispute Statement. As Plaintiff himself concedes in

Part I.B, above, his counsel first raised the issue of potentially missing documents in Guidepost’s

email production on the evening of Saturday, January 6, 2024, with a demand that Guidepost, inter

alia, supplement the production within 48 hours – by close of business Monday, January 8,

2024. (Exh. W.)

        The undersigned counsel is following up with Guidepost’s personnel to determine whether

additional responsive documents remain to be produced (and if so how many) and so advised

Hunt’s counsel by letter on January 8, 2024. (Exh. X.) There has not yet been sufficient time to

find an answer to that question, much less a meet and confer on the matter. Nor has Hunt’s counsel

attempted to schedule a call with the Court prior to moving on this subject. Hunt’s insistence on

raising the subject in this Joint Discovery Dispute Statement is premature and wholly improper.

        C.      Request for Hearing on Attorneys’ Eyes-Only Designations.

        This matter is also not ripe. Plaintiff’s counsel vaguely challenged Guidepost’s AEO

designations by an email on Monday, January 8, 2024, at 3:42 p.m., claiming “’[n]one of them is

supported or supportable,” and demanding a meet and confer within 24 hours. (Exh. Y.) Plaintiff’s

complaint is also difficult to understand, as the AEO designations were made in compliance with

the Court’s Order entered on November 22, 2023 (ECF No. 76), that directed Guidepost to produce

highly sensitive documents on an AEO basis (and which Guidepost did in compliance with the

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Order). Moreover, Hunt’s counsel has proposed to litigate the matter in this Joint Discovery

Dispute Statement before Guidepost’s counsel has even had a chance to respond. This is

gamesmanship, pure and simple.

       Dated: January 9, 2024

                                          Respectfully submitted,

                                          s/ Andrew Goldstein
                                          Todd G. Cole, Esq. (BPR # 031078)
                                          Andrew Goldstein, Esq. (BPR # 037042)
                                          COLE LAW GROUP, P.C.
                                          1648 Westgate Circle, Suite 301
                                          Brentwood, TN 37027
                                          Telephone: (615) 326-9059
                                          tcole@colelawgrouppc.com
                                          agoldstein@colelawgrouppc.com

                                          -and-

                                          Robert D. MacGill, Esq. (admitted pro hac vice)
                                          Scott E. Murray, Esq. (admitted pro hac vice)
                                          Patrick J. Sanders, Esq. (admitted pro hac vice)
                                          MACGILL PC
                                          156 E. Market St.
                                          Suite 1200
                                          Indianapolis, IN 46204
                                          Telephone: (317) 721-1253
                                          robert.macgill@macgilllaw.com
                                          scott.murray@macgilllaw.com
                                          patrick.sanders@macgilllaw.com

                                          Counsel for Plaintiff

                                          s/ Katharine R. Klein
                                          John R. Jacobson, BPR #14365
                                          Katharine R. Klein, BPR #19336
                                          Riley & Jacobson, PLC
                                          1906 West End Avenue
                                          Nashville, TN 37203
                                          (615) 320-3700
                                          (615) 320-3737 Facsimile
                                          jjacobson@rjfirm.com
                                          kklein@rjfirm.com

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                                    -and-

                                    Steven G. Mintz (admitted pro hac vice)
                                    Terence W. McCormick (admitted pro hac vice)
                                    Scott Klein (admitted pro hac vice)
                                    Mintz & Gold LLP
                                    600 Third Avenue
                                    25th Floor
                                    New York, NY 10016
                                    Telephone: (212) 696-4848
                                    mintz@mintzandgold.com
                                    mccormick@mintzandgold.com
                                    klein@mintzandgold.com

                                    Counsel for Defendant
                                    Guidepost Solutions LLC




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                                    CERTIFICATE OF SERVICE

       I hereby certify that I caused a true and correct copy of the foregoing Joint Discovery
Dispute Statement to be electronically filed with the Clerk of the Court on January 9, 2024, using
the CM/ECF system, which will automatically serve all counsel of record listed below:


 Todd G. Cole, Esq.                               Scarlett Singleton Nokes, Esq.
 Andrew Goldstein, Esq.                           R. Brandon Bundren, Esq.
 COLE LAW GROUP, P.C.                             E. Todd Presnell, Esq.
 1648 Westgate Circle, Suite 301                  BRADLEY ARANT BOULT CUMMINGS
 Brentwood, TN 37027                              LLP
 Telephone: (615) 326-9059                        1600 Division Street, Suite 700
 tcole@colelawgrouppc.com                         Nashville, Tennessee 37203
 agoldstein@colelawgrouppc.com                    Telephone: (615) 244-2582
                                                  snokes@bradley.com
 Robert D. MacGill, Esq.                          bbundren@bradley.com
 Scott E. Murray, Esq.                            tpresnell@bradley.com
 Patrick J. Sanders, Esq.
 MACGILL PC                                       Gene R. Besen, Esq.
 156 E. Market St.                                BRADLEY ARANT BOULT CUMMINGS
 Suite 1200                                       LLP
 Indianapolis, IN 46204                           Fountain Place
 Telephone: (317) 721-1253                        1445 Ross Avenue, Suite 3600
 robert.macgill@macgilllaw.com                    Dallas, Texas 75202
 scott.murray@macgilllaw.com                      Telephone: (214) 257-9758
 patrick.sanders@macgilllaw.com                   gbesen@bradley.com

 Counsel for Plaintiff                            Thomas J. Hurney, Jr., Esq.
                                                  Gretchen M. Callas, Esq.
 John R. Jacobson, Esq.                           JACKSON KELLY PLLC
 Katharine R. Klein, Esq.                         500 Lee Street East, Suite 1600
 RILEY & JACOBSON, PLC                            Post Office Box 553
 1906 West End Avenue                             Charleston, West Virginia 25322
 Nashville, TN 37203                              Telephone: 304-340-1000
 (615) 320-3700                                   thurney@jacksonkelly.com
 (615) 320-3737 Facsimile                         gcallas@jacksonkelly.com
 jjacobson@rjfirm.com
 kklein@rjfirm.com                                Counsel for the Executive Committee of the
                                                  Southern Baptist Convention




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 Steven G. Mintz, Esq.                    L. Gino Marchetti, Jr., Esq.
 Terence W. McCormick, Esq.               Matt C. Pietsch, Esq.
 Scott Klein, Esq.                        TAYLOR, PIGUE, MARCHETTI & BLAIR,
 Adam Brody, Esq.                         PLLC
 Alex Otchy, Esq.                         2908 Poston Avenue
 MINTZ & GOLD LLP                         Nashville, TN 37203
 600 Third Avenue                         Telephone: (615) 320-3225
 25th Floor                               gmarchetti@tpmblaw.com
 New York, NY 10016                       matt@tpmblaw.com
 Telephone: (212) 696-4848
 mintz@mintzandgold.com                   Counsel for the Southern Baptist Convention
 mccormick@mintzandgold.com
 klein@mintzandgold.com
 brody@mintzandgold.com
 otchy@mintzandgold.com

 Counsel for Defendant
 Guidepost Solutions LLC




                                             s/ Andrew Goldstein
                                             ANDREW GOLDSTEIN




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